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                       IN THE UNITED STATES DISTRICT COURT                    Redacted
                       FOR THE EASTERN DISTRICT OF MISSOURI

LAWN MANAGERS, INC.,                            )
                                                )
               Plaintiff,                       )          Case No. 4:16-CV-144 DDN
                                                )
v.                                              )
                                                )
PROGRESSIVE LAWN MANAGERS, INC.,                )
                                                )
LINDA R. SMITH, as an individual and as Trustee )
   Of the Linda R. Smith Revocable Living        )
   Trust u/a 11/20/13                           )
                                                )
SPENCER SMITH,                                  )
                                                )
JOSEPHINE 12/12/1896 -10/31/1982, LLC, a        )
       Missouri limited liability company,      )
                                                )
AVALAWN OUTDOOR SOLUTIONS, LLC,                 )
                                                )
       A Missouri limited liability company,    )
                                                )
AVALAWN, LLC.,                                  )
       A Missouri limited liability Company,    )
                                                )
               Defendants.                      )

                              AMENDED SUPPLEMENTAL COMPLAINT

       Comes now Plaintiff Lawn Managers, Inc. ("Lawn Managers" or “Plaintiff”), and for its

Amended Supplemental Complaint against Defendants states as follows:

                                       Nature of Action

       This is an action for continuing trademark infringement committed by Defendant

Progressive and Defendant Linda R. Smith, its sole shareholder, after the entry of the judgments

on June 11, 2018 and July 13, 2018 (the “Trademark Judgments”) which found that Defendant

Progressive had infringed Plaintiff’s trademark. This action also includes a claim for civil




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contempt. This action includes a claim under the Missouri Uniform Fraudulent Transfer Act, (the

“MUFTA”), Mo.Rev.Stat. § 428.024, et seq., to address and recover for fraudulent transfers

made to Defendant Linda R. Smith and her husband, Defendant Spencer Smith, made in order to

hinder and delay the collection of the Trademark Judgments as well as Plaintiff’s August 31,

2018 judgment for attorneys fees (the “Attorneys Fees Judgment”, and referred to collectively as

“the Judgments”). This action includes a claim under MUFTA, §§428.024, 428,029.1 against

Defendants Avalawn Outdoor Solutions, LLC (“Defendant AOS”) and Avalawn, LLC, two

limited liability companies owned and controlled by Defendant Linda R. Smith and/or her

immediate family members, which were formed after Plaintiff began efforts to collect its

Judgments in early September, 2020.          In mid-November, 2020, Defendant Progressive

transferred all of its assets, including its customer contracts, to either AOS or Avalawn, LLC.

Plaintiff seeks damages and voiding of the transfers, as well as equitable relief to a) prevent

future fraudulent transfers b) prohibit other actions intended to prevent Plaintiff from collecting

its Judgments and c) to allow Plaintiff to execute upon the assets of Defendants AOS and

Avalawn, LLC. Plaintiff also brings a claim for successor liability against Defendants AOS and

Avalawn, LLC.

                                               The Parties

        1.      Plaintiff Lawn Managers is a Missouri corporation in good standing, organized

 and existing under the laws of the State of Missouri, with its principal place of business located

 in Jefferson County, Missouri.

        2.      Defendant Progressive is a Missouri corporation in good standing, organized

 and existing under the laws of the State of Missouri, with its principal place of business located

 in St. Louis County, Missouri at 120 Old Meramec Station Road, Manchester, Missouri 63021.


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        3.         Defendant Linda R. Smith is an individual residing in the Eastern District of

 Missouri, and upon information and belief, is the President, Secretary, and sole shareholder of

 Progressive.

        4.         On information and belief, Plaintiff states that Defendant Linda R. Smith is the

 grantor and trustee of the Linda R. Smith Revocable Living Trust u/a 10/20/13 (the “Smith

 Revocable Trust.”).

        5.         Defendant Josephine 12/12/1896-10/31/1982 LLC (“Josephine LLC”) is a

 limited liability company organized and existing under the law of the State of Missouri, having

 as its registered address 4100 Laclede Avenue, St. Louis, Missouri.

       6.          Defendant Spencer Smith is an individual residing in the Eastern District of

 Missouri, and is the husband of Defendant Linda R. Smith.

       7.          Defendant AOS is a limited liability company organized under the laws of the

 State of Missouri and having as its registered address 220 Lookout Avenue, Valley Park,

 Missouri 63088 and a business address of 120 Old Meramec Station Road, Manchester,

 Missouri 63021 as its business address on its website.

       8.          Defendant Avalawn, LLC is a limited liability company organized under the

 laws of the State of Missouri and having as its registered address 220 Lookout Avenue, Valley

 Park, Missouri 63088.

              9.       Defendant Spencer Smith is the manager of Defendant Avalawn, LLC.

                                       Jurisdiction and Venue

        10.        This Court has original subject matter jurisdiction over Count I, pursuant to 15

 U.S.C. § 1121, and 28 U.S.C. §§ 1331 1338, and 1367, in that Plaintiff brings an action for

 trademark infringement pursuant to the Federal Trademark Act of 1946, 15 U.S.C. § 1051, et


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 seq.

        11.     This Court has original jurisdiction over Count II, the claim for civil contempt,

 under 18 U.S.C. § 401(3) and this Court’s inherent authority to enforce its orders, judgments,

 and decrees.

        12.     This Court has ancillary and supplemental jurisdiction over Count III, pursuant

 to 28 U.S.C. § 1367(a), in that Plaintiff brings a claim under the MUFTA, Mo.Rev.Stat. §

 428.024, et seq., because Count III is a post-judgment enforcement proceeding to collect a

 judgment.

        13.     This Court has ancillary and supplemental jurisdiction over Count IV, Court

 has ancillary and supplemental jurisdiction over Count IV, pursuant to 28 U.S.C. § 1367(a) in

 that Plaintiff brings a claim under the MUFTA, Mo.Rev.Stat. §§428.024, 428.029.1, et seq.,

 because Count IV is a post-judgment enforcement action to collect a judgment.

        14.     This Court has ancillary and supplemental jurisdiction over Count V, pursuant

 to 28 U.S.C. § 1367(a) in that Plaintiff brings a claim under Missouri state law to impose

 successor liability upon Defendant AOS in an effort to collect its Judgments.

        15.     This Court has personal jurisdiction over Defendant Progressive, and venue is

 proper in this District and Division pursuant to 28 U.S.C. §§ 1391(b) and (c), in that

 Defendant Progressive is a Missouri corporation with its principal place of business in St.

 Louis County, Missouri.

        16.     This Court has personal jurisdiction over Defendant Linda R. Smith, and venue

 is proper in this District and Division pursuant to 28 U.S.C. §Section 1391(b) and (c), in that

 Defendant Linda Smith resides within the Eastern District of Missouri.



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         17.    This Court has personal jurisdiction over Defendant Spencer Smith, and venue

 is proper in this District and Division pursuant to 28 U.S.C. §Section 1391(b) and (c), in that

 Defendant Spencer Smith resides within the Eastern District of Missouri.

         18.    This Court has personal jurisdiction over the Defendant Josephine LLC, and

 venue is proper in this District and Division pursuant to 28 U.S.C. §1391(b) and (c) in that

 Defendant Josephine LLC is a Missouri limited liability company maintaining its registered

 address and place of business in St. Louis County, Missouri.

         19.    This Court has personal jurisdiction over Defendant AOS and venue is proper

 in this District and Division pursuant to 28 U.S.C. §1391(b) and (c) in that Defendant AOS is

 a Missouri limited liability company maintaining its registered address and place of business

 in St. Louis County, Missouri.

         20.    This Court has personal jurisdiction over Defendant Avalawn, LLC and venue

 is proper in this District and Division pursuant to 28 U.S.C. § 1391(b) and (c) in that

 Defendant Avalawn, LLC is a Missouri limited liability company maintaining its registered

 address and place of business in St. Louis County, Missouri.

                                       Count I
                     Trademark Infringement Under 15 U.S.C. § 1114
                      (Defendants Progressive and Linda R. Smith)

         21.    Plaintiff is the owner of a federal trademark for the name “Lawn Managers”,

 Registration No. 4826435, Registration granted October 6, 2015, and for a design mark

 incorporating the name “Lawn Managers,” Registration No. 4189623, granted August 14,

 2012.

         22.    On February 4, 2016, Plaintiff filed an action against Defendant Progressive

 alleging trademark infringement.


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        23.      On June 11, 2018, this Court entered its Judgment, which was superseded by a

 Supplemental Judgment on July 13, 2018, (both judgments referred to herein as the “Trade

 Mark Judgments”) finding that Defendant Progressive had infringed Plaintiff’s trademark.

        24.      In the Trademark Judgments, this Court awarded Plaintiff damages, including

 an award for corrective advertising, in the total amount of $152,034. (DOC #123, DOC#144);

 this Court later entered a judgment for attorneys’ fees. (DOC #159) In the Trademark

 Judgments, this Court also granted injunctive relief, including a) restrictions on the color and

 type size Defendant Progressive could use when exhibiting its name, b) ordering Defendant

 Progressive to replace any signage that did not comply with these restrictions, c) ordering

 Defendant Progressive to send a letter to all of its active customers from January 1, 2015 to the

 date of the judgment, advising them that Plaintiff and Defendant Progressive were separate and

 distinct corporations, and d) ordering Defendant Progressive to correct various internet listings

 to eliminate continuing confusion over and infringement upon Plaintiff’s trademark.

        25.      Defendant Progressive appealed the Trademark Judgments.

        26.      On August 7, 2018, this Court entered its Order staying the Trademark

 Judgments and approving a supersedeas bond in the amount of $25,000. (DOC #156).

        27.      Upon the entry of the stay, Defendant Progressive ceased its attempts to

 comply with the portion of the Trademark Judgments that required it to remove infringing

 materials from the internet and also ceased efforts to conform its use of its signage and logos

 so that they no longer infringe Plaintiff’s trademarks.

        28.      Although this Court stayed the Trademark Judgments, no order of the Court

 permitted or allowed Defendant Progressive and Defendant Linda R. Smith to continue

 infringing Plaintiff’s trademarks during the pendency of Defendant Progressive’s appeal.



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        29.    Defendant Linda R. Smith, the President, Secretary and sole shareholder of

 Defendant Progressive is a central figure in the corporation and she knew about, directed, and

 actively participated in the trademark infringement described herein.

        30.    Defendant Linda R. Smith had the right, obligation and ability to supervise

 Defendant Progressive’s infringing conduct and she had an obvious and direct financial

 interest in the continuing infringement.

        31.     Since the entry of the Trademark Judgments, Defendant Progressive and

 Defendant Linda R. Smith have persisted and continued infringing Plaintiff’s trademarks, often

 using the logos that this Court found infringing in the Trademark Judgments.

        32.     Defendant Progressive and Defendant           Linda R. Smith’s continuing

 infringement of Plaintiff’s trademarks have included the following:

                a) Defendant Progressive and Defendant Linda R. Smith continued to use

                    infringing logos on its vehicles. A photograph of the infringing signage on a

                    vehicle in August 2019 is attached hereto as Exhibit A-1; a photograph of

                    the infringing signage on a vehicle in August 2020 is attached as Exhibit

                    A-2.

                b) Defendant Progressive and Defendant Linda R. Smith continued to use

                    infringing logos in its building signage, (the attached Exhibit B-1 dated

                    July 2018), and only changed the infringing building signage in late

                    August, 2020. The infringing building signage was also displayed on the

                    internet as late as mid-August, 2020, copy attached hereto as Exhibit B-2.

                c) Defendant Progressive and Defendant Linda R. Smith continued to use

                    infringing logos on lawn signs. Photographs of lawn signs in use after the


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                entry of the Trademark Judgments are attached hereto as Exhibit C-1

                (dated in February 2019), and Exhibit C-2 (dated in March 2019).

             d) Defendant Progressive and Defendant Linda R. Smith continued to use the

                infringing logo on business cards. A photograph of Linda Smith’s business

                card is attached hereto as Exhibit D-1, which was left at an address in

                September 2018 along with a solicitation letter using the infringing logo

                dated September 4, 2018, copy attached as Exhibit D-2, and exhibiting the

                hand-writing of Linda Smith.

             e) Defendant Progressive and Defendant Linda Smith continued to use

                information about Plaintiff’s customers to solicit business: in March 2019,

                Progressive sent a marketing letter which listed, among others, a customer

                of Plaintiff as an example of a nearby satisfied customer of Progressive.

                Plaintiff obtained a copy because the marketing letter was sent to Plaintiff’s

                customer.

             f) Defendant Progressive and Defendant Linda R. Smith failed to correct

                internet listings of Defendant Progressive from the date of the Judgments

                until late August 2020, and its listings continued to assert that Defendant

                Progressive had been in business for “more than 30 years,” and similar

                language, thereby misappropriating Plaintiff’s history and intentionally

                causing customers to confuse Plaintiff and Defendant Progressive, and

                continuing to infringe Plaintiff’s trademarks. Examples of these listings are

                attached as Exhibit E-1 (dated in July 2018) and Exhibit E-2 (dated in

                June 2019). Plaintiff identified 18 websites and internet listings requiring



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                     correction in an attachment to a letter to Defendant’s counsel dated August

                     13, 2020.

                  g) Defendant Progressive and Defendant Linda R. Smith continued to use

                     solicitation letters with the same look and form as Plaintiff’s pre-bill

                     letters, resulting in several customers of Plaintiff’s paying Defendant for

                     service by mistake.

        33.      Defendant Progressive and Defendant Linda R. Smith’s use of Plaintiff’s

 trademark has caused and continues to cause actual confusion among the public and

 customers.

        34.      Defendant Linda R. Smith has personal liability for the acts of trademark

 infringement described above because she directed, authorized, and/or ratified the

 infringement.

        35.      Defendant Progressive and Defendant Linda R. Smith knew, by virtue of the

 June 11 2018 Judgment, that their use of Plaintiff’s trademarks was infringing.

        36.       Plaintiff is being and will continue to be damaged by these Defendants’

 infringement, which causes a likelihood of confusion and actual confusion among customers

 and prospective customers as to the true identity, source, affiliation or sponsorship of

 Defendant Progressive’s infringing services.

        37.       Because of Defendants’ infringement, Plaintiff has suffered and will suffer

 damage to its business reputation and goodwill, and loss of sales and profits that it would have

 made but for the unlawful acts of Defendants.

        38.      As a result of the actions of Defendant Progressive and Defendant Linda Smith,

 Plaintiff has been damaged in an amount not presently ascertainable.

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             39.   Plaintiff has incurred attorneys’ fees and costs in enforcing its rights.

             40.   The actions of Defendant Progressive and Defendant Linda Smith demonstrate

  an intentional, willful and malicious intent to trade upon the goodwill associated with

  Plaintiff's trademarks.

          41.       The actions of Defendant Progressive and Defendant Linda Smith constitute

 infringement in violation of 15 U.S.C. § 1114.

             42.    Plaintiff is entitled to an accounting of Defendant Progressive’s ill-gotten

  profits.

             43.    Plaintiff is entitled to a judgment against Defendant Progressive and Defendant

  Linda R. Smith, jointly and severally, in an amount of Plaintiff’s damages, attorneys’ fees,

  costs, and expenses, pursuant to 15 U.S.C. §§ 1114, 1116 and 1117, and enhancement of

  Plaintiff’s award of lost profits and trebling of Plaintiff’s damages pursuant to 15 U.S.C. §

  1117.

             44.    Plaintiff is entitled to reach and recover from the assets held for the benefit of

  Defendant Linda R. Smith in the Smith Revocable Trust.

          WHEREFORE, plaintiff Lawn Managers, Inc., respectfully prays that this Court enter

 judgment in favor of Plaintiff and against Defendant Progressive and Defendant Linda R. Smith,

 in her individual capacity and as Trustee of the Smith Revocable Trust, jointly and severally, in

 an amount equal to a) the amount of all damages caused by the infringing acts of Defendant

 Progressive and Defendant Smith, including prejudgment interest on all such damages; b) an

 award of trebled damages and an enhancement of the award of profits as provided for by 15

 U.S.C. § 1117(a), c) an award of Plaintiff’s reasonable attorneys’ fees, costs and expenses

 pursuant to 15 U.S.C. § 1117(a), d) an amount for punitive damages, and e) for such other and


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 further conduct as the Court deems just and proper in the circumstances.

                                          Count II
                                       Civil Contempt
                    (Defendant Progressive and Defendant Linda R. Smith)

        45.      Plaintiff restates and realleges paragraphs 1 to 44.

        46.      The Trademark Judgments required Defendant Progressive to send a letter (the

 “Letter”) to “all of its current former customers from January 1, 2015, to the date of the

 [Trademark Judgments].” (DOC.# 144, ¶ 3)

        47.      Defendant Progressive, under the direction of Defendant Linda R. Smith, has

 represented that in May 2020, it sent the Letter to 988 residential customers and a handful of

 commercial customers, and the Letter was sent on plain paper with no letterhead.

        48.      Defendant Linda R. Smith represented to the Twenty-Third Judicial Circuit,

 Jefferson County Missouri, in the matter, “Linda R. Smith, Petitioner, v. Randall Zweifel, Case

 No. 09JE-DR00715-01” that Defendant Progressive had 1598 customers during the relevant

 time frame, and provided a list of these customers to that court in August 2017.

        49.      Defendant Progressive and Defendant Linda R. Smith failed to send the Letter

 to all of Progressive’s customers as required by the Trademark Judgments.

        50.      Because Defendant Linda R. Smith is Progressive’s sole owner and is the

 manager of the company, she can be held in civil contempt for Defendant Progressive’s failure

 to comply with the Trademark Judgments.

        51.      Plaintiff’s compensatory damages for Defendants’ acts are difficult to ascertain.

        52.      As partial recompense to Plaintiff for its damages, Plaintiff requests that

 Defendant be ordered to re-send the notice, in a form approved by the Court, to all of

 Defendant’s customers from January 1, 2015 to the present, and that Defendant be required to


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 provide proof of mailing to the Court.

         53.     This Court can impose a per diem fine in order to coerce Defendants to comply

 with the Trademark Judgments.

         54.     Plaintiff has incurred attorneys’ fees and costs in enforcing its rights under the

 Trademark Judgments.

         WHEREFORE, Plaintiff prays for an Order of this Court holding Defendant Progressive

 and Defendant Linda R. Smith in civil contempt, ordering them to comply with the Trademark

 Judgments by sending the Letter to all of Defendant Progressive’s active customers from

 January 1, 2015 to the present, including, but not limited to the active customers included on the

 list presented to the Court in the Hillsboro proceeding, imposing an appropriate per diem fine

 until compliance has occurred, and awarding Plaintiff its attorneys’ fees and costs for enforcing

 its rights.

                                    Counts III and IV
                    Facts Common to Plaintiff’s Claims Under the MUFTA

         55.    Plaintiff restates and realleges Paragraphs 1 through 44 as if fully set forth herein.

         56.     The principal amount of the Judgments, with costs, originally totaled

 $294,194.93.

         57.     As of the date of the filing of this Supplemental Complaint, the principal amount

 of the Judgments totals $262,450.69, without consideration of accrued interest.

         58.     Subsequent to the entry of the Judgments, and in anticipation of Plaintiff’s

 attempts to collect its Judgments, Defendants have engaged in a scheme to hinder, delay and

 defraud Plaintiff in collecting its Judgments.

         59.     This scheme included stripping Defendant Progressive of cash and the transfer

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 of its assets to companies that Defendant Linda R. Smith owns and/or controls.

        60.      Plaintiff has been unable to collect its Judgments and has been defrauded.

        61.      In anticipation of Plaintiff’s actions to collect the Judgments, Defendant

 Progressive transferred funds to Defendant Linda R. Smith immediately after the entry of the

 June 11 2018 Judgment, immediately after the entry of the Opinion of the Eighth Circuit Court

 of Appeals upholding the Judgments, and immediately after the entry of the Mandate of the

 Court of Appeals.

        62.      In anticipation of Plaintiff’s actions to collect the Judgments, on two occasions,

 upon learning that executions had been filed and garnishments issued to its bank accounts,

 Defendant Progressive removed funds from the bank accounts before the garnishment could be

 served upon the bank.

        63.      After Plaintiff began to execute on the Judgments by filing garnishments,

 Defendant Progressive transferred all of its assets to Defendant AOS and Defendant Avalawn,

 LLC, businesses which Defendant Linda R. Smith (or members of her immediate family) owns

 and controls.

        64.      These transfers left Defendant Progressive insolvent.

        65.      Defendant Linda R. Smith is an “insider” as that term is used in the Uniform

 Fraudulent Transfer Act (“UFTA”), in that she is an officer and the person in control of

 Defendant Progressive. Mo.Rev.Stat. § 428.009(7)(b) and (c).

        66.      Defendant Spencer Smith is an “insider” as that term is used in the UFTA in that

 he is the spouse of Defendant Linda Smith, who is a relative of an officer or person in control of

 Defendant Progressive. Mo.Rev. Stat. § 428.009(7)(b).f..


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        67.      Christopher Lawrence, while not named as a defendant in this action, is Linda

 Smith’s son, and his name appears in connection with some of the transactions involving

 Defendants AOS and Avalawn.

        68.      Defendant Josephine LLC is wholly owned, operated and controlled by

 Defendant Linda R. Smith.

        69.      Defendant Josephine LLC is an “affiliate” and an “insider” as those terms are

 used under the MUFTA because Defendant Linda R. Smith owns and controls Defendant

 Josephine, LLC. Mo.Rev.Stat.§§428.009(1); Mo.Rev.Stat.428.009(7)(d).

        70.      Defendant AOS is an “affiliate” and an “insider” as those terms are used under

 the MUFTA because Defendant Linda R. Smith directly and/or indirectly owns and controls

 Defendant AOS. Mo.Rev. Stat. §§428.009(1); Mo.Rev.Stat.428.009(7)(d).

        71.      Defendant Avalawn, LLC is an “insider’ and an “affiliate” as that term is used

 under the MUFTA because Defendant Linda R. Smith directly or indirectly owns and controls

 Defendant Avalawn, LLC. Mo.Rev. Stat. §§428.009(1); Mo.Rev.Stat. 428.009(7)(d).

        72.      On July 3, 2018, after the entry of the June 11 2018 Judgment, Defendant

 Progressive filed its Motion to Stay Execution of Judgment (Doc. 127) and memorandum in

 support, and reply memo in support (Doc. 134, filed under seal), pursuant to which it requested

 that the Court permit it to post a supersedeas bond in an amount less $152,000 (the amount of the

 June 11 2018 Judgment) (DOC.#s 127, 134).

        73.      In support of its Motion, on July 3, 2018, Defendant Progressive provided the

 Declaration of Defendant Linda R. Smith, in which she stated that a) Defendant Progressive

 could not obtain a bond in the full amount of the June 11 2018 Judgment because it could not

 obtain a letter of credit in the full amount, and b) it had approximately $      in year to date

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        83.       Thereafter, Progressive disbursed funds to Defendant Linda R. Smith in the

 following amounts on the following dates:

                      April 20, 2020               $

                      April 30, 2020               $

                      May 20, 2020                 $

        84.       On August 5, 2020, the Eighth Circuit issued its mandate. (DOC # 167).

        85.       On August 6, 2020, Defendant Progressive made two disbursements to

 Defendant Linda Smith in the amounts                 and $      .

        86.       None of the disbursements described above were made in the ordinary course of

 business, rather they were paid to insiders and were used to siphon off the income of Defendant

 Progressive so that there would not be accumulated cash to pay Plaintiff’s Judgments and to

 otherwise ensure that Plaintiff’s Judgments could not be satisfied.

        87.       Since the entry of the Judgments, Defendant Progressive has made

 disbursements (including the ones described above) to Defendant Linda R. Smith in an amount

 in excess of $        .

        88.       Since the entry of the Judgments, Defendant Progressive has made

 disbursements to Defendant Spencer Smith in an amount in excess of $         .

        89.       On August 31, 2020, Plaintiff filed a Notice of Writ of Execution and

 Garnishment directed to Rockwood Bank.

        90.       At the time that the garnishment was filed with the Court, Defendant

 Progressive had approximately $          in two bank accounts at Rockwood Bank.

        91.       The Court entered its Writ of Execution directed to Rockwood Bank on


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 September 1, 2020.

        92.     Upon learning that the garnishment had been filed, and prior to the time that the

 garnishment could be processed and served upon Rockwood Bank, on September 2, 2020

 Defendant Progressive removed $          from its account at Rockwood Bank and opened an

 account at Lindell Bank.

        93.     On September 4, 2020, Defendant Spencer Smith, as organizer, incorporated

 Defendant Avalawn, LLC, a business organized for the purpose of providing lawn fertilization,

 treatment, and mowing, and pest control. (See Exhibit F, Certified copy of Articles of

 Organization of Avalawn, LLC.).

        94.     Defendant Spencer Smith is named as the manager of Avalawn, LLC.

        95.     After opening the Lindell Bank account, Defendant Linda R. Smith obtained

 cash disbursements from the Lindell Account of approximately $        .

        96.     These disbursements were taken out by Linda Smith in $100 bills.

        97.     At the time of these disbursements, Defendant Progressive was able to write

 checks and make electronic payments and deposits in the Lindell Bank account.

        98.     Defendant Linda R. Smith and Defendant Progressive engaged in cash

 transactions so that there would be no record of these transactions and so that they could hide

 and conceal these transactions from Plaintiff, who was actively attempting to collect its

 Judgments.

        99.     On October 6, 2020, Christopher Lawrence, the son of Defendant Linda R.

 Smith, as incorporator, organized Defendant AOS. (See Exhibit G, Certified copy of Articles of

 Organization of Avalawn Outdoor Solutions, LLC.).


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        100.     The purpose of Defendant AOS is to provide lawn care and pest control.

        101.     Defendant AOS’s website lists Defendant Linda R. Smith as its owner. (See

 Exhibit H, Website pages for Avalawn Outdoor Solutions, LLC).

        102.     On November 11, 2020, Defendant Progressive entered into an asset purchase

 agreement (the “Asset Purchase Agreement”) with Defendant AOS.             (See Exhibit I, Asset

 Purchase Agreement).

        103.     Under the Asset Purchase Agreement, all of the assets of Defendant Progressive,

 including, but not limited to customer contracts, accounts receivable, inventory, equipment,

 books and records, telephone number, and goodwill and other intangibles, were transferred to

 Defendant AOS. (Exhibit I, Art. II, §2.1).

        104.     The only items excluded from the sale were a                           ,

           ,                  and an                  .

        105.     The                             was transferred to Defendant Avalawn, LLC on

 November 13, 2020.

        106.     Defendant AOS paid nothing for the assets.

        107.     The only consideration that Defendant AOS gave for the assets was its

 agreement to continue servicing the customer accounts. (Exhibit I, Art. III, §3.1).

        108.     Defendant Progressive was insolvent after the transfer of its assets to Defendant

 AOS and Defendant Avalawn, LLC.

        109.     Defendant Progressive actively concealed that it had reached an agreement to

 transfer its assets to Defendant AOS.

        110.     On October 9, 2020, in response to Plaintiff’s Second Set of Interrogatories in

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 Aid of Execution, Defendant Progressive denied that it had received any offers to purchase its

 customer accounts and/or customer contracts.

         111.    On November 25, 2020, after the consummation of the Asset Purchase

 Agreement, Defendant Progressive revealed for the first time that it had received an offer to

 purchase customer accounts and customer contracts from Defendant AOS in early September,

 2020.

         112.    Defendant Progressive transferred its assets to Defendant AOS and Defendant

 Avalawn, LLC in order to hinder, prevent and delay Plaintiff’s collection of its Judgments.

         113.    Although it purports to be a separate company from Defendant Progressive,

 Defendant AOS is simply a continuation of Defendant Progressive.

         114.    Defendant AOS provides the same services as Defendant Progressive.

         115.    Defendant AOS has the same telephone number as Defendant Progressive.

         116.    Defendant AOS has the same business address as Defendant Progressive.

         117.    Defendant Linda R. Smith is owner and sole shareholder of Defendant

 Progressive, and upon information and belief she is the owner of Defendant AOS.

         118.    Defendant AOS uses all of the assets, including good will, of Defendant

 Progressive.

         119.    Defendant AOS has the same customers as Defendant Progressive.

         120.    On information and belief, Plaintiff states that AOS has the same employees as

 Defendant Progressive.

         121.    On information and belief, Plaintiff states that the cash removed from Defendant

 Progressive’s bank account was used in whole or in part to establish and operate Defendant AOS

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 and Defendant Avalawn, LLC.

        122.     When Plaintiff requested that Defendant Progressive supplement its answers to

 Plaintiff’s Second Set of Interrogatories to disclose the current location of is bank accounts,

 Defendant Progressive’s counsel refused to supplement the answer, asserting that Progressive

 had no obligation to supplement its discovery responses under the Federal Rules of Civil

 Procedure.

        123.     This objection is meritless and was asserted only to hinder and thwart Plaintiff

 from filing an execution upon Defendant Progressive’s current bank account.

        124.     On information and belief, Plaintiff states that at the time that Defendant was

 moving its accounts in order to thwart Plaintiff’s attempt to collect its Judgments, it was also

 using funds to pay expenses for Defendant AOS and/or transferring funds to Defendant AOS.

        125.     On or about October 13, 2020, Defendant Progressive opened an account at

 CNB STL Bank.

        126.     Defendant Progressive made many of the disbursements from all three of its

 bank accounts (Rockwood, Lindell, and CNB STL Bank) in cash in order to conceal the true

 purpose of its actions and to prevent Plaintiff from tracing the funds.

        127.     In addition to the disbursements described above, since the entry of the

 Judgments, Defendant Progressive has made other disbursements which appear to be payments

 for personal expenses of Defendant Linda R. Smith, such as payments to               ,        ,

                 ,                                         , all payments either in whole or in part,

 appear to have been made to pay Defendant Linda R. Smith’s personal expenses, and as such,

 are disbursements on her behalf.




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         128.    Plaintiff is aware of one occasion, since the filing of the trademark action, when

 Defendant Progressive deposited funds from a Progressive customer into the bank account of

 Defendant Josephine, LLC, thereby concealing the assets and income of Defendant Progressive,

 and Plaintiff believes that this is not an isolated occurrence.

         129.    Defendants’ actions as described herein show a course of conduct designed to

 hinder and prevent Plaintiff from collecting its Judgments, and are “fraudulent transfers” under

 Mo.Rev.Stat. § 428.024, which provides that a transfer made with the actual intent to hinder,

 delay or defraud a creditor is a fraudulent transfer.

         130.    Defendant Progressive’s actions of closing its bank accounts upon learning that a

 garnishment has been filed provides additional evidence of Defendant Progressive and

 Defendant Linda R. Smith’s specific intent to prevent Plaintiff from collecting upon its

 Judgments.

         131.    Plaintiff has incurred attorneys’ fees and costs in this action.

                                         Count III
            Missouri Uniform Fraudulent Transfer Act, Mo.Rev. Stat. § 428.024
         (Defendants Progressive, Linda Smith, Spencer Smith and Josephine LLC)
        132.     Plaintiff restates and realleges Paragraphs 1 through 43 and 55 through 131.

        133.     The action of Defendant Progressive in disbursing funds to Defendants Linda

 Smith, Spencer Smith, and Josephine, LLC were made to hinder, delay and defraud Plaintiff.

        134.     Plaintiff has been damaged by these Defendants’ actions in an amount yet to be

 determined.

        WHEREFORE, Plaintiff prays for an Order of this Court directing a) Defendants Linda

 Smith, Spencer Smith, Josephine, LLC, (the “Smith Defendants”) to i) disgorge any and all

 disbursements made to them from Defendant Progressive since June 11, 2018, including but not

 limited the $         disbursed to Linda Smith, (including funds held in the Smith Revocable

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 Trust), and all funds disbursed to Spencer Smith, (and any other funds found to have been

 disbursed or transferred to the Smith Defendants), ii) imposing a constructive trust on all

 disbursements made from Defendant Progressive to the Smith Defendants or on behalf of the

 Smith Defendants (including any credit card payments and funds held in the Smith Revocable

 Trust), iii) allowing Plaintiff to execute upon and levy upon any disbursements in the hands of

 the Smith Defendants and the Smith Revocable Trust, iv) directing the Smith Defendants and

 the Smith Revocable Trust to provide an accounting of any and all disbursements made by

 Defendant Progressive to or on behalf of the Smith Defendants, b) ordering Defendant

 Progressive to i) cease making disbursements to the Smith Defendants and to the Smith

 Revocable Trust, ii) to make an accounting of all disbursements paid to the Smith Defendants,

 iii) enjoining Defendant Progressive from moving its bank accounts pending the satisfaction of

 the Judgments, including any judgment entered herein under Count I and c) awarding Plaintiff

 damages, jointly and severally against Defendants Linda R. Smith, Spencer Smith, and

 Josephine, LLC, and awarding Plaintiff its attorneys’ fees and costs.

                                       Count IV
     Missouri Uniform Fraudulent Transfer Act, Mo.Rev. Stat. §428.024 and §428.029.1
       (Defendants Progressive, Linda R. Smith, Spencer Smith, Avalawn, LLC and
                           Avalawn Outdoor Solutions, LLC)

        135.    Plaintiff restates and re-alleges Paragraphs 1 through 44 and 55 through 131.

        136.    Any payments of cash from Defendant Progressive to Defendants Avalawn, LLC

 and/or Defendant AOS, are fraudulent transfers made to prevent Plaintiff from collecting its

 Judgments.

        137.    The transfers were concealed.

        138.    The transactions, including the withdrawals of cash, rather than ordinary bank

 transactions, are not done in the usual manner of doing business.


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          139.   The cash withdrawals were made in order to conceal Progressive’s assets.

          140.   The transfers were all or substantially all of Defendant Progressive’s assets.

          141.   Defendant Progressive received nothing of value for the transfers.

          142.   Defendant Progressive became insolvent as a result of the transfers.

          143.   The actions of these Defendants were done with the intent to hinder, delay and

 defraud Plaintiff.

          144.   Defendant Linda R. Smith and Defendant Spencer Smith and perhaps other

 individuals not known at this time conspired to effectuate the fraudulent transfers described

 above.

          145.   Plaintiff has been damaged by the fraudulent transfers.

           WHEREFORE, Plaintiff prays for an order of this Court directing a) Defendants

 Avalawn, LLC and Avalawn Outdoor Solutions, LLC (the “Avalawn Defendants”) to i) disgorge

 any and all disbursements made to them from Defendant Progressive, ii) imposing a constructive

 trust on all disbursements made to the Avalawn Defendants, iii) imposing a constructive trust on

 the assets of Defendant Progressive, including, but not limited to its customer accounts,

 contracts, and accounts receivables, and any proceeds from these accounts, iv) freezing the

 accounts of the Avalawn Defendants, v) allowing Plaintiff to execute upon and levy upon any

 disbursement from Defendant Progressive and any payments received from any customers and

 any bank account of the Avalawn Defendants, vi) directing the Avalawn Defendants to provide

 an accounting of any all disbursements made by Defendant Progressive and any and all receipts

 received from customers, and vii) enjoining the Avalawn Defendants from moving its bank

 accounts pending the satisfaction of the Judgments, including any judgment entered by the Court

 under Count I, and viii) awarding Plaintiff its attorneys’ fees and costs, or, in the alternative,



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 appoint a receiver to control the bank accounts of Defendant Progressive, the Smith Defendants,

 and the Avalawn Defendants, and b) entering a judgment jointly, and severally, against

 Defendant Linda R. Smith and Defendant Spencer Smith, for damages sustained by Plaintiff

 Progressive as result of these fraudulent transfers.

                                           Count V
                                      Successor Liability
                          (Defendant Avalawn Outdoor Solutions, LLC

         146.    Plaintiff restates and re-alleges Paragraphs 1 through 44 and 55 through 131.

         147.    Defendant AOS is in all material aspects the continuation of Defendant

 Progressive.

         148.    Defendant AOS is the successor the Defendant Progressive and it should be held

 liable for the debts of Defendant Progressive, including the Judgments.

         WHEREFORE, Plaintiff prays for a judgment in its favor against Defendant Avalawn

 Outdoor Solutions, LLC for the balance of the Judgments, with interest thereon as provided by

 law.

                                           Count VI
                   Civil Conspiracy to Defraud Plaintiff Lawn Managers, Inc.
                  (Defendants Progressive, Linda R. Smith and Spencer Smith)

        149.    Plaintiff restates and realleges Paragraphs 1 through 44 and 55 through 148.

        150.    After Plaintiff began to execute upon the assets of Defendant Progressive,

Defendants Linda R. Smith and Defendant Spencer Smith, along with Christopher Lawrence,

(Linda’s son) conspired to defraud Plaintiff by concealing and transferring the assets of Progressive

so that Plaintiff would be unable to collect its Judgments.

        151.    Defendant Linda R. Smith and Spencer Smith, along with Christopher Lawrence

(collectively, the “Co-Conspirators”), agreed to a fraudulent scheme under which new business

entities would be formed so that Progressive could continue to operate.
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       152.    The Co-Conspirators agreed that a new business entity would be formed for the

purpose of receiving Progressive’s assets and that the new entity would continue the business and

operations of Progressive, providing the same lawn care services to the same customers, and

employing the same employees as Progressive.

       153.    The Co-Conspirators agreed to form the new entity so that Progressive’s assets

could be transferred to it and so that Progressive would have no assets available to satisfy

Plaintiff’s Judgments.

       154.    Upon information and belief, the Co-Conspirators further agreed and understood

that Defendant Linda R. Smith would in fact continue to control and manage the newly formed

business, and that she would continue to receive distributions from the business, to replace, in part,

the funds that she had previously been receiving from Defendant Progressive.

       155.    The Co-Conspirators further agreed that Defendant Linda Smith would not be listed

as an owner or organizer of the new business entity so that it would appear as if she had no

ownership interest or influence over the new entity and so that it would appear that the new entity

was not Progressive’s successor.

       156.    In additional furtherance of the conspiracy, Defendant Spencer Smith, as organizer,

formed Avalawn, LLC. (Exhibit F).

       157.    Defendant Avalawn, LLC was organized for the stated purpose of providing “lawn

fertilization, treatment, and mowing, and pest control,” (Exhibit F).

       158.    Defendant Spencer Smith had no prior experience in providing lawn care services or

in managing a lawn care business.

       159.    Defendant Spencer Smith, in furtherance of the conspiracy, formed Defendant

Avalawn, LLC so that it could be used to assist Progressive, Linda and Chris Lawrence in


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preventing and hindering Plaintiff’s efforts to collect its Judgments, including the receipt of the

assets of Defendant Progressive.

       160.    At some point, the Co-Conspirators decided that Progressive’s assets would not be

transferred to Avalawn, LLC and that another company would be formed for this purpose.

       161.    On October 6, 2020 Christopher Lawrence, as organizer, formed Defendant

Avalawn Outdoor Solutions, LLC (Exhibit G).

       162.    Christopher Lawrence, in furtherance of the conspiracy, formed Defendant Avalawn

Outdoor Solutions, LLC so that it could be used to assist Progressive, Linda and Spencer Smith in

preventing and hindering Plaintiff’s efforts to collect its Judgments.

       163.    On November 11, 2020, pursuant to the Asset Purchase Agreement, (Exhibit I),

substantially all of Progressive’s assets were transferred to Avalawn Outdoor Solutions, LLC,

except for a 2019 Ford truck.

       164.    One of the assets owned by Progressive was the 2019 Ford truck.

       165.    Progressive had used the truck in the operation of its business, and the Co-

Conspirators understood that Defendant AOS would require the truck in order to operate.

       166.    The Co-Conspirators also intended that the 2019 Ford truck would be leased to

Defendant AOS, and that Defendants Linda R. Smith and Spencer Smith would receive the lease

payments, in that way insuring that they would continue to receive monthly income from the lawn

care businesses.

       167.    The 2019 Ford truck was also to be transferred so that Plaintiff would be unable to

seize the truck in order to satisfy its Judgments.

       168.    On or about November 11, 2020, the 2019 Ford Truck was transferred to Defendant

Avalawn, LLC.


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       169.    On information and belief, Defendant Avalawn, LLC, conducts no business and its

sole activity is to own the 2019 Ford truck which is being used by Defendant AOS.

       170.     Plaintiff states that Defendant Spencer Smith committed additional acts in

furtherance of the scheme.

       171.    The Co-Conspirators agreed to the fraudulent scheme for the purpose of defrauding

Plaintiff and preventing Plaintiff from collecting its Judgments.

       172.    Defendants Linda Smith and Spencer Smith each committed overt acts in

furtherance of the conspiracy.

       173.    Defendants Linda Smith and Spencer Smith each acted for their own personal

interest and benefit and not in the interest of the corporations that they own and control in agreeing

to the fraudulent scheme and acting to implement the fraudulent scheme.

       174.    As a result of the conspiracy, Plaintiff has been damaged in the amount of its

Judgments plus accrued interest because funds that would have been available to satisfy the

Judgments have been placed beyond the reach of execution or garnishment.

       175.    On information and belief, Plaintiff states that the fraudulent scheme is on-going and

that Defendants Spencer Smith and Linda Smith continue to take actions to transfer and dissipate

assets of the corporations that they own and control so that there will be no assets remaining to

satisfy Plaintiff’s Judgments.

       WHEREFORE, Plaintiff prays for a judgment its favor, against Defendants Linda Smith

and Spencer Smith, jointly and severally, in the amount of Plaintiff’s unpaid Judgments, plus

interest that has accrued on the Judgments.




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                                           Count VII
         Missouri Uniform Fraudulent Transfer Act, Mo. Rev.Stat. §428.024 and §428.029.1
                     (Defendants Josephine, 12/12/1896-10/31/1982, LLC, and
                                        Linda R. Smith)

       176.    Plaintiff restates and realleges Paragraphs 1 through 44 and 55 through 131.

       177.    This Court has ancillary and supplemental jurisdiction over Count VII, pursuant to

28 U.S.C. §1367(a) in that Plaintiff brings a claim under MUFTA, Mo.Rev. Stat. §428.024, et seq.,

because Count VII is a post-judgment enforcement proceeding to college a judgment.

       178.    On or about May 17, 2012, Defendant Josephine, as buyer, entered into a seller-

financed transaction with Old Meramec Station Road Properties, LLC, for the purchase of real

estate located at 120 Old Meramec Station Road, St. Louis County, Missouri (the “Real Estate”),

with the following legal description:

               A Parcel of land situated in section 36 Township 45 North, Range 4 East, St.
       Louis County, Missouri, and being more particularly described as being Lots Six
       (6), Five (5) and Four (4) and part of Lot Three (3) in Block 9 of TRIPLETT’S
       ADDITION TO MANCHESTER, according to the plat thereof recorded in Plat
       Book 1 page 45 of the Recorder’s Office, City of St. Louis, Missouri and described
       as: Beginning at a point in the East line of Meramec Station Road, 35.00 feet wide
       and distant 272.00 feet from the South line of Manchester Road, 60 feet wide, said
       beginning point being also the center line of 2nd Street as shown on said plat of
       Triplett’s Addition to Manchester, thence continuing South and along said East line
       of Meramec Station Road, a distance of 140.00 feet to a point; thence North and
       parallel with the East line of said Section 36, a distance of 207.60 fee to a point in
       the center line of said 2nd Street; thence West and along the center of said 2nd
       Street, a distance of 205.40 feet to the point of beginning.

       179.    As part of this transaction, Defendant Linda R. Smith and Defendant Josephine

executed a deed of trust as co-borrowers.

       180.    On November 15, 2012, Defendant Smith and Defendant Josephine refinanced the

purchase of the Real Estate with a loan from Rockwood Bank, now known as Lindell Bank.

       181.    The Rockwood loan included a Deed of Trust executed by Defendant Josephine, and

Guaranties executed by both Defendant Smith and Defendant Progressive.

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        182.     Annually since 2012, Defendant Smith and Defendant Josephine have refinanced the

Rockwood loan, and in each of these transactions, Defendant Smith has executed a personal

guaranty.

        183.     On information and belief, Plaintiff states that Defendant Josephine is a shell

corporation, which was formed to hold nominal title to the Real Estate and to act as a conduit for

financial transactions between Linda and Progressive.

        184.     Defendant Josephine appears to conduct no other business activity.

        185.     Defendant Josephine maintains no corporate records.

        186.     Defendant Josephine is controlled by Defendant Linda Smith and is in all aspects

her alter ego.

        187.     On or about May 21, 2021, Defendant Josephine sold the Real Estate to Wohlfahrt

Holdings, LLC. .

        188.     The Closing Statement reflects that the Real Estate was sold for $385,000 and that

Josephine, LLC received $187,882.33.

        189.     On information and belief, Plaintiff states that none of the proceeds of the sale were

disbursed to Defendant Josephine for its operations, rather, Defendant Linda Smith disbursed

proceeds to Defendant AOS and disbursed them for payment of the attorneys’ fees of one or more

of the Defendants.

        190.     The proceeds of the sale of the Real Estate were not used for any legitimate

corporate purpose of Defendant Josephine, but were used for Defendant Linda Smith’s personal

benefit as well as the benefit of the other Defendants.

        191.     The transfer of the Real Estate to Wohlfahrt was a fraudulent transfer because it was

made while Plaintiff’s claim against Defendant Josephine was pending (Count III), and it was made

with the actual intent to defraud Plaintiff.
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       192.    Plaintiff states that it appears that Wohlfahrt paid less than fair market value for the

Real Estate

       193.    Pleading in the alternative, Plaintiff states that equity requires that Defendant

Josephine be treated as the alter ego of Defendant Linda Smith, and that Defendant Linda Smith

should be deemed to have been the owner of the Real Estate.

       194.    The transfer of the Real Estate to Wohlfahrt was a fraudulent transfer because it was

made while Plaintiff’s claims against Defendant Linda Smith, the alter ego of Defendant Josephine,

(Counts III and IV) were pending and were made with the actual intent to defraud Plaintiff.

       195.    Defendants concealed the transfer of the Real Estate from Plaintiff, only disclosing

it in February, 2022, over nine months after the transaction occurred.

       196.    Plaintiff has incurred attorneys’ fees in bringing this claim.

       WHEREFORE, Plaintiff prays for judgment in its favor granting all appropriate remedies

available under the MUFTA, including, 1) imposing a constructive trust on the proceeds of the Real

Estate in favor of Plaintiff, 2) allowing Plaintiff to execute upon and levy upon any disbursement

from Defendant Josephine to any third parties, 3) directing Defendant Josephine to provide an

accounting of all disbursements made by Defendant Josephine and/or Defendant Linda Smith, 4)

awarding Plaintiff its attorneys’ fees and costs, and for any further equitable relief which the Court

deems just and appropriate in the circumstances.

                                              Respectfully submitted,

                                              /s/Susan Nell Rowe
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                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing was served by email to opposing
counsel at the email addresses stated above, on this 29th day of March, 2022, to:

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